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                       UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

STEVEN MCPHERSON,

       Plaintiff,

v.                                                                 Case No. 2:19-cv-2493

REEDY & COMPANY REALTORS, LLC, and
JAMES REEDY,

      Defendants.
______________________________________________________________________________

                        COMPLAINT UNDER THE FLSA
______________________________________________________________________________

       Plaintiff Steven McPherson, through his attorneys, bring this action against Defendants

Reedy & Company Realtors, LLC and James Reedy under the federal Fair Labor Standards Act,

29 U.S.C. § 201 et seq. (“FLSA”) for failure to pay overtime compensation.

                                      I. JURISDICTION

       1.      This Court has original jurisdiction to hear this Complaint and to adjudicate the

claims stated herein under 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

                                          II. FACTS

                                           A. Parties

       2.      Plaintiff Steven McPherson is an adult resident of Southaven, Mississippi.

       3.      Defendant Reedy & Company is a for profit corporation formed and organized

under Tennessee state law and currently conducting business as a full service title company at

4701 Summer Avenue, Memphis, TN 38122. At all relevant times herein, Defendant Reedy &

Company was an “employer” of the Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(d).
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        4.     Defendant Reedy & Company is and, at all times hereinafter mentioned, was

engaged in related activities performed through unified operation or common control for a

common business purpose, and is and, at all times hereinafter mentioned, was an enterprise within

the meaning of 29 U.S.C. § 203(r).

        5.     Defendant Reedy & Company is and, at all times hereinafter mentioned, was an

enterprise engaged in commerce or in the production of goods for commerce within the meaning

of 29 U.S.C. § 203(s)(1)(A) in that said enterprise at all times hereinafter mentioned had employees

engaged in commerce or in the production of goods for commerce, or employees handling, selling,

or otherwise working on goods or materials that have been moved in or produced for commerce

by any person and in that said enterprise had an annual gross volume of sales made or business

done of not less than $500,000. Specifically, Defendant Reedy & Company has annual sales of

not less than $500,000.

        6.     James “Jim” Reedy is the president and co-founder at Reedy & Company. At all

times herein, Defendant Jim Reedy has been the employer of Plaintiff under the meaning of 29

U.S.C. § 203(d), since he has acted directly in the interest of Defendant Reedy & Company in

relation to establishing the terms and compensation of Plaintiff’s employment, including but not

limited to making the decision not to compensate Plaintiff at the required overtime rates.

Defendant Jim Reedy is a resident of Eads, Tennessee.

                                     B. Factual Allegations

        7.     Plaintiff was employed by Defendants during the applicable statutory period.

Plaintiff began his employment with Defendants in 2011 and was terminated on or about June 20,

2019.    During the applicable statutory period, Plaintiff worked for Defendants primarily

performing non-office, warehouse management and maintenance duties.



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       8.      The FLSA requires covered employers, such as Defendants, to compensate non-

exempt employees at a rate of not less than one and one-half times the regular rate of pay for work

performed in excess of forty (40) hours per work week. During the applicable statutory period,

Defendants suffered and permitted Plaintiff to routinely work more than forty (40) hours per week

without overtime compensation.

       9.      During the applicable statutory period, Plaintiff’s primary duty was to stock and

organize the warehouse, which housed construction tools and materials. Plaintiff also performed

some clerical tasks related to organizing invoices.

       10.     For example, Plaintiff was tasked with stocking commonly used construction items,

such as lightbulbs and electrical and plumbing materials, and would order these products,

sometimes in bulk orders, to maintain adequate inventory.

       11.     Plaintiff also special ordered supplies and equipment as directed by Defendant Jim

Reedy and contractors for various renovation jobs.

       12.     Under the direction of Defendant Jim Reedy and contractors, Plaintiff also

purchased supplies as needed from hardware stores, such as Lowe’s or Home Depot, and delivered

them to work sites.

       13.     Plaintiff typically worked between forty-five (45) and fifty (50) hours per week.

       14.     During the applicable statutory period, Plaintiff’s primary job duties were such that

he should have been paid overtime compensation for all hours worked over forty (40) in a work

week. Apparently, Defendants misclassified Plaintiff as exempt from receiving overtime pay

under the FLSA. But, Plaintiff’s job duties were such that he did not perform exempt duties during

the applicable statutory period. For example, he did not customarily and regularly direct the work

of two (2) or more full-time employees of Defendants. Also, Plaintiff did not have the authority



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to hire or fire other employees, nor did Plaintiff ever recommend that Defendants’ employees be

fired or disciplined.

        15.     Plaintiff’s primary duties also did not require him to exercise discretion and

independent judgment on significant business matters. Any decision making regarding purchases,

negotiating purchase contracts, binding the company with regard to lines of credit or discounts, or

strategic consideration of vendors was directed and done by Defendant Jim Reedy.

        16.     At the time of his termination, Plaintiff was paid $2,053.85 on a biweekly basis,

which equates to $1,026.93 per week. At this juncture, Plaintiff estimates that he has been illegally

deprived of overtime compensation of at least $102.70 per week during the relevant time period,

which totals $15,713.10.

        17.     As a result of its actions and the conduct described above, Defendants have violated

the provisions of the FLSA, 29 U.S.C. §§ 201 et seq., specifically § 207(a)(1), with respect to

Plaintiff.

        18.     Further, by failing to accurately record, report, and/or preserve records of all hours

worked by Plaintiff, Defendants have failed to make, keep, and preserve records with respect to

Plaintiff sufficient to determine his wages, hours, and other conditions and practice of

employment, in violation of the FLSA, 29 U.S.C. §§ 201, et seq.

        19.     The foregoing conduct on the part of Defendants constitute a willful violation of

the FLSA within the meaning of 29 U.S.C. § 255(a) as Defendants knew or showed reckless

disregard for the fact that its compensation practices with respect to Plaintiff were in violation of

federal law.

                                   III. PRAYER FOR RELIEF

        WHEREFORE, Plaintiff in this action demands:



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    1.    Judgment against Defendants for an amount equal to unpaid back wages at the
          applicable overtime rates;

    2.    Judgment against Defendants that their violations of the FLSA were willful;

    3.    An equal amount to the overtime damages as liquidated damages;

    4.    All recoverable costs, expenses, and attorney’s fees incurred in prosecuting these
          claims;

    5.    Leave to add additional plaintiffs by motion, the filing of written consent forms, or
          any other method approved by the Court;

    6.    Leave to amend to add other defendants who meet the definition of Plaintiff’s
          “employer,” 29 U.S.C. § 203(d);

    7.    An order requiring Defendants to preserve all electronically stored information
          relevant to this lawsuit; and,

    8.    For all such further relief as the Court deems just and equitable.




                                         Respectfully submitted,


                                         /s/ William B. Ryan
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                                         ATTORNEYS FOR PLAINTIFF

                                         Dated: 8.2.19




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